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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
    In re:                                                     )
                                                               ) Chapter 7
    HI.Q, INC.,1                                               )
                                                               ) Case No. 23-______ (___)
                                   Debtor.                     )
                                                               )

                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
              DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Hi.Q, Inc. (the “Debtor”), as debtor in the above-captioned case (the “Chapter 7 Case”),
has filed its respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of
Financial Affairs (the “Statements,” and together with the Schedules, the “Schedules and
Statements”) with the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
Rules”), and rules 1007-1 of the Local Rules for the United States Bankruptcy Court for the District
of Delaware (the “Local Rules”).

        These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of the Debtor’s Schedules
and Statements. The Global Notes should be referred to, considered, and reviewed in connection
with any review of the Schedules and Statements.

       The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of the Debtor (whether
publicly filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment.

        In preparing the Schedules and Statements, the Debtor relied upon information derived
from its books and records that were available at the time of such preparation. Although the Debtor
has made reasonable efforts to ensure the accuracy and completeness of such financial information,
inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
information, may cause a material change to the Schedules and Statements.



1
  The Debtor in the above-captioned chapter 7 case, along with the last four digits of the Debtor’s federal tax
identification number, is as follows: Hi.Q, Inc. (1588). The location of the Debtor’s corporate headquarters and service
address is 5465 Legacy Dr. Suite 650, Plano, Texas 75024.
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        The Debtor and its present directors, officers, employees, and attorneys do not guarantee
or warrant the accuracy or completeness of the data that is provided in the Schedules and
Statements and shall not be liable for any loss or injury arising out of or caused in whole or in part
by the acts, omissions, whether negligent or otherwise, in procuring, compiling, collecting,
interpreting, reporting, communicating, or delivering the information contained in the Schedules
and Statements. The Debtor and its present directors, officers, employees, and attorneys disclaim
any liability to any third party arising out of or related to the information contained in the Schedules
and Statements and reserve all rights with respect thereto.

        The Schedules and Statements have been signed by an authorized representative of the
Debtor. In reviewing and signing the Schedules and Statements, this representative relied upon
the efforts, statements, and representations of the Debtor’s advisors. The representative has not
(and could not have) personally verified the accuracy of each such statement and representation,
including, for example, statements and representations concerning amounts owed to creditors and
their addresses.

                           Global Notes and Overview of Methodology

1.     Reservation of Rights. Reasonable efforts have been made to prepare and file complete
       and accurate Schedules and Statements; however, inadvertent errors or omissions may
       exist. Further discovery, independent investigation, and analysis may supply additional
       facts and add meaning to known facts. Thus, nothing contained in the Schedules and
       Statements is intended or should be construed as an admission by the Debtor. The Debtor
       reserves all rights to amend or supplement the Schedules and Statements from time to time,
       in all respects (in its sole and absolute discretion), including, without limitation, the right
       to amend the Schedules and Statements with respect to claim (“Claim”) description or
       designation; dispute or otherwise assert offsets or defenses to any Claim reflected in the
       Schedules and Statements as to amount, liability, priority, status, or classification;
       subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or object
       to the extent, validity, enforceability, priority, or avoidability of any Claim. Any failure to
       designate a Claim in the Schedules and Statements as “disputed,” “contingent,” or
       “unliquidated” does not constitute an admission by the Debtor that such Claim or amount
       is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an
       admission of liability by the Debtor against which the Claim is listed. Furthermore, nothing
       contained in the Schedules and Statements shall constitute a waiver of any of the Debtor’s
       rights with respect to the Chapter 7 Case, and specifically with respect to any issues
       involving Claims, defenses, equitable subordination, recharacterization, and/or causes of
       action arising under the provisions of chapter 5 of the Bankruptcy Code and any other
       relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation
       of rights contained elsewhere in the Global Notes does not limit in any respect the general
       reservation of rights contained in this paragraph.

       A listing in the Schedules or Statements (including, without limitation, Schedule A/B,
       Schedule E/F or Statements) by the Debtor is a statement of what appears in the Debtor’s
       books and records and does not reflect any admission or conclusion of the Debtor regarding




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     whether such amount would be allowed as a Claim or how such obligations may be
     classified and/or characterized by the Bankruptcy Court.

2.   Description of Cases and “as of” Information Date. On August 30, 2023 (the “Petition
     Date”), the Debtor filed a voluntary petition for relief under chapter 7 of the Bankruptcy
     Code.

     Subject to paragraph 1, the asset information provided in the Schedules and
     Statements, except as otherwise noted, represents the asset data of the Debtor as of
     the Petition Date, and the liability information provided herein, except as otherwise
     noted, represents the liability data of the Debtor as of the Petition Date.

3.   Net Book Value of Assets. Unless otherwise indicated, the Debtor’s Schedules and
     Statements reflect net book values as of the Petition Date in the Debtor’s books and records.
     Additionally, because the book values of certain assets may materially differ from their fair
     market values, they may be listed as undetermined amounts as of the Petition Date.

4.   Recharacterization. Notwithstanding the Debtor’s reasonable efforts to properly
     characterize, classify, categorize, or designate certain Claims, assets, and other items
     reported in the Schedules and Statements, the Debtor may, nevertheless, have improperly
     characterized, classified, categorized, designated, or omitted certain items due to the
     complexity and size of the Debtor’s businesses. Accordingly, the Debtor reserves all of its
     rights to recharacterize, reclassify, recategorize, redesignate, add, or delete items reported
     in the Schedules and Statements at a later time as is necessary or appropriate in its sole and
     absolute discretion, including, without limitation, whether contracts or leases listed herein,
     if any, were deemed executory or unexpired as of the Petition Date and remain executory
     and unexpired postpetition.

5.   Excluded Assets and Liabilities. The Debtor has sought to allocate liabilities between
     the prepetition and post-petition periods based on the information and research conducted
     in connection with the preparation of the Schedules and Statements. As additional
     information becomes available and further research is conducted, the allocation of
     liabilities between the prepetition and post-petition periods may change.

     The liabilities listed on the Schedules do not reflect any analysis of Claims under section
     503(b)(9) of the Bankruptcy Code.

6.   Insiders. For purposes of the Schedules and Statements, the Debtor defined “insiders”
     pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c)
     persons in control of the Debtor; (d) relatives of the Debtor’s directors, officers or persons
     in control of the Debtor; and (e) debtor/non-debtor affiliates of the foregoing. Persons
     listed as “insiders” have been included for informational purposes only, and the inclusion
     of them in the Schedules and Statements shall not constitute an admission that those
     persons are insiders for purposes of section 101(31) of the Bankruptcy Code.




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7.    Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
      E/F as “priority,” (c) Schedule E/F as “unsecured,” or (d) Schedule G as “executory” or
      “unexpired,” does not constitute an admission by the Debtor of the legal rights of the
      claimant, or a waiver of the Debtor’s rights to recharacterize or reclassify such Claims or
      contracts or leases or to setoff of such Claims.

8.    Claims Description. Schedules D and E/F permit the Debtor to designate a Claim as
      “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the
      Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
      constitute an admission by the Debtor that such amount is not “disputed,” “contingent,” or
      “unliquidated,” or that such Claim is not subject to objection. Moreover, listing a Claim
      does not constitute an admission of liability by the Debtor.

9.    Causes of Action. Despite its reasonable efforts to identify all known assets, the Debtor
      may not have listed all of its causes of action or potential causes of action against third-
      parties as assets in the Schedules and Statements, including, without limitation, causes of
      actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
      relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all
      of its rights with respect to any cause of action (including avoidance actions), controversy,
      right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on contracts or
      for breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
      guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
      license, and franchise of any kind or character whatsoever, known, unknown, fixed or
      contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
      disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
      arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
      pursuant to any other theory of law (collectively, “Causes of Action”) the Debtor may have,
      and neither these Global Notes nor the Schedules and Statements shall be deemed a waiver
      of any Claims or Causes of Action or in any way prejudice or impair the assertion of such
      Claims or Causes of Action.

10.   Summary of Significant Reporting Policies. The following is a summary of significant
      reporting policies:

         a.      Undetermined Amounts. The description of an amount as “unknown,” “TBD”
                 or “undetermined” is not intended to reflect upon the materiality of such
                 amount.

         b.      Totals. All totals that are included in the Schedules and Statements represent
                 totals of all known amounts. To the extent there are unknown or undetermined
                 amounts, the actual total may be different than the listed total.

         c.      Liens. Property listed in the Schedules and Statements, if any, are presented
                 without consideration of any liens that may attach (or have attached) to such
                 property.




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11.    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

12.    Setoffs. The Debtor may incur certain offsets and other similar rights during the ordinary
       course of business. Offsets in the ordinary course can result from various items, including,
       without limitation, intercompany transactions and other disputes between the Debtor and
       the other entities. These offsets and other similar rights are consistent with the ordinary
       course of business in the Debtor’s industry and are not tracked separately. Therefore,
       although such offsets and other similar rights may have been accounted for when certain
       amounts were included in the Schedules, offsets are not independently accounted for, and
       as such, are or may be excluded from the Debtor’s Schedules and Statements.

                 Specific Disclosures with Respect to the Debtor’s Schedules

         Given, among other things, questions about the characterization of certain assets and the
valuation and nature of certain liabilities, to the extent that the Debtor shows more assets than
liabilities, this is not an admission that the Debtor was solvent as of the Petition Date or at any
time before the Petition Date. Likewise, to the extent the Debtor shows more liabilities than assets,
this is not an admission that the Debtor was insolvent as of the Petition Date or at any time before
the Petition Date.

Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtor’s assets
as of the Petition Date, unless otherwise noted below. In Part 11, the federal net operating losses
for tax year 2022 (the “NOL”) are listed as undetermined because the Debtor has not attempted to
value the NOL in light of the chapter 7 bankruptcy filing.

Schedule D. Any Claim listed on Schedule D may have incurred on various dates; a determination
of the date upon which each Claim arose or was incurred would be unduly burdensome and cost
prohibitive and subject to ongoing investigation by the Debtor. Accordingly, not all such dates
are included. Any Claim listed on Schedule D, however, appears to have been incurred before the
Petition Date.

Reference to the applicable loan agreements and related documents is necessary for a complete
description of the collateral and the nature, extent, and priority of liens. Nothing in the Global
Notes or the Schedules and Statements shall be deemed a modification or interpretation of the
terms of such agreements. Nothing herein shall be construed as an admission by the Debtor of the
legal rights of the claimant or a waiver of the Debtor’s rights to recharacterize or reclassify such
Claim or contract.

                 Specific Disclosures with Respect to the Debtor’s Statements

Statement 3. Statement 3 includes any disbursement or other transfer purportedly made by the
Debtor within 90 days before the Petition Date except for those made to insiders (which payments
appear in response to Statement question 4), if any, and bankruptcy professionals (which payments
appear in Statement 11 and include any retainers paid to bankruptcy professionals).




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Statement 7. Any information contained in Statement 7 shall not be a binding representation of
the Debtor’s liabilities with respect to any of the suits and proceedings identified therein.

                             ***END OF GLOBAL NOTES***

     **SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE**




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 Fill in this information to identify the case:

             Hi.Q, Inc.
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _


                                                                              Delaware
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                               Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 0.00
                                                                                                                                                                                              $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:                                                                                                                                                               1,345,376.96
                                                                                                                                                                                              $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                 1,345,376.96
                                                                                                                                                                                              $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                67,486,421.13
                                                                                                                                                                                              $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................
                                                                                                                                                                                                 0.00
                                                                                                                                                                                              $ ________________


     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                                189,216,641.78
                                                                                                                                                                                            + $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................        256,703,062.91
                                                                                                                                                                                              $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                page 1
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  Fill in this information to identify the case:

               Hi.Q, Inc.
  Debtor name __________________________________________________________________

                                                                             Delaware
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):    _________________________                                                                                Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                     0.00
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

                                                               Type of account                  Last 4 digits of account number
        See Schedule A/B Attachment 3.1
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____                 511,915.07
                                                                                                                                  $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                  511,915.07
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
        HSA Plan - Deposit - Health Equity, Inc.
   7.1. ________________________________________________________________________________________________________                     40,500.00
                                                                                                                                   $______________________
        Lease Security Deposit - Charleston Investment Group, LLC - Lease ends 12/31/23
   7.2._________________________________________________________________________________________________________                     40,000.00
                                                                                                                                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
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Debtor
               Hi.Q, Inc.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
        See Schedule A/B Attachment 8.1
   8.1.___________________________________________________________________________________________________________                  480,052.68
                                                                                                                                  $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.                                                                                                                 560,552.68
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
         Celebrate Health Management Company
   15.1._______________________________________________________________              100
                                                                                   ________%                Book Value
                                                                                                        _____________________      0.01
                                                                                                                                 $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________




17. Total of Part 4                                                                                                               0.01
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 2
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Debtor        Hi.Q, Inc.
              _______________________________________________________                    Case number (if known)_____________________________________
              Name




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used        Current value of
                                                    physical inventory   debtor's interest     for current value            debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                        $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used        Current value of debtor’s
                                                                         debtor's interest     for current value            interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________         $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________         $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                              page 3
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Debtor         Hi.Q, Inc.
               _______________________________________________________                        Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________     ____________________       $______________________

40. Office fixtures

   ______________________________________________________________              $________________     ____________________       $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
    Computers, various models
   ______________________________________________________________                17,589.20
                                                                               $________________      Straight-Line
                                                                                                     ____________________        17,589.20
                                                                                                                                $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                  17,589.20
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 4
                              Case 23-11361-JTD                 Doc 6       Filed 08/30/23         Page 12 of 35
 Debtor
              Hi.Q, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                                Case 23-11361-JTD                    Doc 6        Filed 08/30/23         Page 13 of 35
Debtor         Hi.Q, Inc.
               _______________________________________________________                           Case number (if known)_____________________________________
               Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        2513 Charleston Rd. Suite 102
    55.1________________________________________
                                                           Leased
                                                           _________________      $_______________      ____________________           0.00
                                                                                                                                    $_____________________
          Mountain View, CA, 94043
        Office Building
    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

                                                             Leased                                                                   0.00
         5465 Legacy Dr. Suite 650, Plano
    55.4________________________________________            _________________     $_______________      ____________________        $_____________________
          TX, 75024 - Office Building
    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                      0.00
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    Customer Leads
    ______________________________________________________________                  0.00
                                                                                  $_________________     ______________________          0.00
                                                                                                                                      $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                       0.00
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
                                   Case 23-11361-JTD              Doc 6       Filed 08/30/23            Page 14 of 35
Debtor          Hi.Q, Inc.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________ –     __________________________         =   $_____________________
    ______________________________________________________
                                                                    Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
     Federal NOL's
    _________________________________________________________________________________                             2022
                                                                                                        Tax year ___________        Undetermined
                                                                                                                                  $_____________________
     State Refunds - See Schedule A/B 72 Attachment
    _________________________________________________________________________________                            2021
                                                                                                        Tax year ___________        50,320.00
                                                                                                                                  $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    See Schedule A/B Attachment 75                                                                                                   TBD
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    Agent Referral Receivable
   ____________________________________________________________                                                                     175,000.00
                                                                                                                                  $_____________________
    Software Reimbursement
   ____________________________________________________________                                                                      30,000.00
                                                                                                                                  $_____________________

78. Total of Part 11.
                                                                                                                                    255,320.00
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 7
                                       Case 23-11361-JTD                            Doc 6            Filed 08/30/23                   Page 15 of 35
Debtor            Hi.Q, Inc.
                  _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                        Current value
                                                                                                      personal property                       of real property

                                                                                                          511,915.07
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                          560,552.68
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                           0.00
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                           0.01
                                                                                                         $_______________
83. Investments. Copy line 17, Part 4.

                                                                                                           0.00
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.

                                                                                                           0.00
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                           17,589.20
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                           0.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                               0.00
88. Real property. Copy line 56, Part 9. . .....................................................................................            $________________

                                                                                                           0.00
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                        255,320.00
                                                                                                    + $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                          1,345,376.96                        0.00
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            + 91b. $________________

                                                                                                                                                                    1,345,376.96
                                                                                                                                                                  $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                              page 8
                                      Case 23-11361-JTD                      Doc 6           Filed 08/30/23          Page 16 of 35
  Fill in this information to identify the case:

              Hi.Q, Inc.
  Debtor name __________________________________________________________________
                                                                             Delaware
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Silicon Valley Bank
     __________________________________________                  Letter of credit
                                                                ___________________________________________________
                                                                                                                                250,000.00
                                                                                                                    $__________________                 250,000.00
                                                                                                                                                      $_________________

    Creditor’s mailing address                                  ___________________________________________________

      505 Howard Street, Floor 3
     ________________________________________________________   ___________________________________________________
      San Francisco, CA 94105
     ________________________________________________________   Describe the lien
                                                                 First priority lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     jhartmann@svb.com
     _________________________________________
                                                                 No
                                                                 Yes
                           12/31/21
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                    N/A ___ ___ ___
                             ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                         Contingent
     Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                          Disputed
             TriplePoint Venture Growth BDC Corp
             ___________________________________
             Second Priority
             ___________________________________

2.2 Creditor’s name                             Describe debtor’s property that is subject to a lien
     TriplePoint Venture Growth BDC Corp
     __________________________________________                                                        50,000,000.00                                   0.00
                                                  All assets of the entity
                                                 ___________________________________________________ $__________________                              $_________________

    Creditor’s mailing address                                  ___________________________________________________
      2755 Sand Hill Rd., Suite 150
     ________________________________________________________   ___________________________________________________
      Menlo Park, CA 94025                                      Describe the lien
     ________________________________________________________
                                                                 Second priority lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
                            12/17/18
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                    N/A___ ___ ___
                             ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
             priority?                                           Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines 2.3
                                     _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                67,486,421.13
                                                                                                                               $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                       3
                                                                                                                                                         page 1 of ___
                                      Case 23-11361-JTD                      Doc 6       Filed 08/30/23              Page 17 of 35
  Debtor            Hi.Q, Inc.
                    _______________________________________________________                                Case number (if known)_____________________________________
                    Name



                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  3 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien
      DASIR, LLC
     __________________________________________                  All assets of the entity
                                                                ___________________________________________________
                                                                                                                                6,500,000.00
                                                                                                                              $__________________       Undetermined
                                                                                                                                                      $_________________
                                                                ___________________________________________________
    Creditor’s mailing address
                                                                ___________________________________________________
      410 Park Avenue, Suite 900
     ________________________________________________________
      New York, NY 10022
     ________________________________________________________   Describe the lien
                                                                 First priority lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     tdaileader@drivetrainllc.com
     _________________________________________
                                                                 No
                                                                 Yes

                            12/13/21
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                    N/A___ ___ ___
                             ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                                       2.2
                    specified on lines _____


  4 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien


      Quote Velocity, LLC
     __________________________________________                  Cash at Silicon Valley Bank and Bridge Bank
                                                                ___________________________________________________  6,988,428.00                       0.00
                                                                                                                    $__________________               $_________________
    Creditor’s mailing address                                  ___________________________________________________

                                                                ___________________________________________________
      4260 NW 1st Ave. Suite 57
     ________________________________________________________
      Boca Raton, FL 33431
     ________________________________________________________   Describe the lien
                                                                  Pre-judgment attachment order, third priority
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     accounting@quotevelocity.com
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred 10/10/22 - 12/8/22
                            __________________                  Is anyone else liable on this claim?
                                                                 No
    Last 4 digits of account
    number                    N/A
                             ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
               priority?                                         Disputed
            No. Specify each creditor, including this
                    creditor, and its relative priority.
                    _______________________________
                    _______________________________
                    _______________________________

            Yes. The relative priority of creditors is
                    specified on lines 2.2,
                                       _____2.3


  Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         2 of ___
                                                                                                                                                         page ___    3
                           Case 23-11361-JTD            Doc 6       Filed 08/30/23            Page 18 of 35




5

    Innovative Employee Solutions, Inc.       Cash at Silicon Valley Bank
                                                                                                   3,747,993.13   0.00



    9665 Granite Ridge Dr., Suite 420
    San Diego, CA 92123
                                              Pre-judgment attachment order, third priority


    ldunn@innovative-es.com


                         9/12/22 - 12/18/22

                          N/A




                          2.2, 2.3




                                                                                                                         3   3
                                       Case 23-11361-JTD                          Doc 6           Filed 08/30/23       Page 19 of 35
   Fill in this information to identify the case:

   Debtor          Hi.Q, Inc.
                   __________________________________________________________________

                                                                              Delaware
   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
                                                                                                                                                                  3
               Hi.Q, Inc.
                               Case 23-11361-JTD                   Doc 6          Filed 08/30/23             Page 20 of 35
  Debtor       _______________________________________________________                             Case number (if known)_____________________________________
               Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     189,216,641.78
                                                                 Check all that apply.                                     $________________________________
     See Schedule E/F Attachment 3.1
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    ____________________________________________________________  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    ____________________________________________________________  Disputed

    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    ____________________________________________________________  Disputed

    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                            Contingent
                                                                            Unliquidated
    ____________________________________________________________            Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                            Contingent
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                     2 of ___
                                                                                                                                                    page __    3
               Hi.Q, Inc.
                               Case 23-11361-JTD            Doc 6        Filed 08/30/23    Page 21 of 35
 Debtor        _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.            0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                  5b.    +       189,216,641.78
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                   189,216,641.78
                                                                                              5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                          3 of ___
                                                                                                                                    page __   3
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 Fill in this information to identify the case:

             Hi.Q, Inc.
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________ District of    Delaware
                                                                              _______
                                                                             (State)
 Case number (If known):    _________________________                        11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or
                                          See Schedule G Attachment
                                          ____________________________________            _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
                                Case 23-11361-JTD                   Doc 6        Filed 08/30/23             Page 23 of 35
 Fill in this information to identify the case:

              Hi.Q, Inc.
 Debtor name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     Health  IQ Insurance
         _____________________         5465 Legacy Dr. Suite 650
                                      ________________________________________________________            TriplePoint  Venture
                                                                                                          _____________________               D                   
         Services, Inc.               Street
                                                                                                          Growth BDC Corp                    E/F
                                      Plano, TX 75024
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
          Health IQ Insurance
         _____________________         5465 Legacy Dr., Suite 650
                                      ________________________________________________________              Silicon Valley Bank
                                                                                                           _____________________              D
           Services, Inc.             Street                                                                                                 E/F
                                       Plano TX 75024
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         Health IQ Insurance
         _____________________         5465 Legacy Dr., Suite 650
                                      ________________________________________________________             DASIR, LLC
                                                                                                           _____________________              D
          Services Inc.               Street                                                                                                 E/F
                                       Plano TX 75024
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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x
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                                       Schedule A/B, Attachment 3.1

                                                              Last 4 digits of account   Current value of debtor's
No.   Name of Institution          Type of Account
                                                                      number                     interest
 1        Bridge Bank           Cash Collateral Account                 6494              $                      -
 2        Bridge Bank                   Checking                        3217             $               11,431.60
 3        Bridge Bank                 Money Market                      6564             $               65,252.93
 4       First Republic                 Checking                        0132             $               46,756.17
 5       First Republic                 Savings                         0249              $                      -
 6    Silicon Valley Bank       Cash Collateral Account                 1179             $                5,832.27
 7    Silicon Valley Bank       Cash Collateral Account                 7060              $                      -
 8    Silicon Valley Bank   Collateral Money Market Account             7297             $                    1.00
 9    Silicon Valley Bank   Collateral Money Market Account             6452             $                    1.00
10    Silicon Valley Bank               Checking                        3951             $              132,640.10
11    Silicon Valley Bank   Collateral Money Market Account             2770             $              250,000.00

                                                                                         $             511,915.07
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                        Schedule A/B, Attachment 8.1

No.              Description                        Holder                Amount
1       Prepaid Insurance - D&O Run-off             QBE                 $ 309,750.00
2       Prepaid Insurance - D&O Run-off           Berkshire             $ 150,000.00
3          Prepaid Insurance - EPLI                 RSUI                $ 17,506.68
4     Prepaid SaaS - Contract Management      ContractSafe, LLC         $   2,796.00

                                                                        $ 480,052.68
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                 Schedule A/B, Attachment 72

                                                      Current
                     Message
                                                       Value
2021 State Income Tax Receivable - Texas              $22,360.00
2021 State Income Tax Receivable - Connecticut           $500.00
2021 State Income Tax Receivable - New Jersey          $5,000.00
2021 State Income Tax Receivable - Massachusetts       $8,224.00
2021 State Income Tax Receivable - Wisconsin             $100.00
2021 State Income Tax Receivable - Arizona               $100.00
2021 State Income Tax Receivable - California          $4,000.00
2021 State Income Tax Receivable - Louisiana           $1,767.00
2021 State Income Tax Receivable - Pennsylvania        $2,886.00
2021 State Income Tax Receivable - Oklahoma            $2,000.00
2021 State Income Tax Receivable - Oregon                $650.00
2021 State Income Tax Receivable - Kentucky            $2,233.00

                                                     $ 50,320.00
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                                                         Schedule A/B, Attachment 75

                                                                                                                                     Amount
                     Case Title (Name and Case Number)            Nature of Case             Court or Agency's Name and Address
                                                                                                                                    Requested
HI.Q, Inc. d/b/a Health IQ                                                         US District Court for the District of Delaware

                                                               Contractual
v. Enfuego Holdings, LLC d/b/a Cege Media, LLC                                     844 North King St Unit 18                          TBD
                                                               Indemnification
                                                                                   Wilmington, DE 19801-3570
Case No. N22C-02-160 FWW
HI.Q, Inc. d/b/a Health IQ                                                         US District Court for the District of Delaware

                                                               Contractual
v. Enfuego Holdings, LLC d/b/a Cege Media, LLC                                     844 North King St Unit 18                          TBD
                                                               Indemnification
                                                                                   Wilmington, DE 19801-3570
Case No. N22C-08-160 FWW
                                                         Case 23-11361-JTD                       Doc 6           Filed 08/30/23        Page 29 of 35




                                                                                              Schedule E/F, Attachment 3.1
                                                                                                                                                                                      Is the claim subject
                Nonpriority creditor's name          Nonpriority creditor's mailing address       Date debt was occurred   Contingent? Unliquidated? Disputed? Basis for the claim                           Amount of claim
                                                                                                                                                                                           to offset?
                                                                   307 S Class St
AA Media Inc                                                                                            11/30/2022             No            No          No      Supplier or Vendor           No              $119,605.00
                                                               Middletown DE 19709
                                                      200 Spectrum Center Dr., Suite 1100
Accurate Employment Screening, LLC                                                                   8/1/22 - 12/31/22         No            No          No      Supplier or Vendor           No               $20,980.25
                                                                  Irvine, CA 92618
                                                              16192 Coastal Highway
Advanced Engineering Services LLC                                                                   11/17/22 - 12/14/22        No            No          No      Supplier or Vendor           No              $214,441.00
                                                                  Lewes DE 19958
                                                        2185 N California Blvd Suite 590
Alliance of Chief Executives LLC                                                                        1/25/2023              No            No          No      Supplier or Vendor           No               $10,000.00
                                                             Walnut Creek CA 94596
                                                              4850 East Street Road
AllianceOne Receivables Management Incorporated                                                     07/31/22 - 09/15/22        No            No          No      Supplier or Vendor           No              $157,142.70
                                                                 Trevose PA 19053
                                                                  P.O. BOX 84023
AMAZON Web Services                                                                                 03/08/23 - 05/06/23        No            No          No      Supplier or Vendor           No              $152,032.65
                                                             Seattle WA 98124-8423
                                                         2865 Sand Hill Road, Suite 101
Andreessen Horowitz Fund V, L.P., as nominee                                                             2/7/2022              No            No          No       Convertible Note            No              $1,939,922.10
                                                              Menlo Park, CA 94025
                                                                  139 Illinois Street
Apollo Interactive, Inc.                                                                            10/31/22 - 12/01/22        No            No          No      Supplier or Vendor           No                $6,571.00
                                                               El Segundo CA 90245
                                                                 535 Madison Ave.
Aquiline Technology Growth Fund L.P.                                                                     2/7/2022              No            No          No       Convertible Note            No              $565,773.59
                                                                New York, NY 10022
                                                             12657 Alcosta Boulevard
Armanino LLP                                                                                            10/31/2022             No            No          No      Supplier or Vendor           No                $9,975.00
                                                               San Ramon CA 94583
                                                     2385 NW Executive Center Dr Suite 100
Assure Media, LLC                                                                                   10/31/22 - 12/19/22        No            No          No      Supplier or Vendor           No              $542,875.00
                                                               Boca Raton FL 33431
                                                           295 Lafayette Street Floor 7
Axiom Global Inc                                                                                    06/30/22 - 08/31/22        No            No          No      Supplier or Vendor           No               $20,645.87
                                                                New York NY 10012
                                                          901 K Street N.W. Suite 900
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC                                                  08/09/22 - 04/30/23        No            No          No      Supplier or Vendor           No                $4,174.50
                                                              Washington DC 20001
                                                            303 E. Wacker Dr Ste 500
Bankers Life and Casualty Company                                                                       7/29/2021              No            No          No       Convertible Note            No             $10,000,000.00
                                                                  Chicago IL 60601
                                                           4 Armstrong Road 3rd Floor
Barrington Media Group, LLC                                                                         10/25/22 - 12/12/22        No            No          No      Supplier or Vendor           No              $1,086,440.00
                                                                  Shelton CT 6484
                                                          2885 Sanford Ave SW 12566
Blue Wing Ads, LLC                                                                                  10/31/22 - 12/31/22        No            No          No      Supplier or Vendor           No              $136,291.00
                                                                Grandville MI 49418
                                                         433 California Street Suite 600
Blueshift Labs, Inc                                                                                     7/19/2022              No            No          No      Supplier or Vendor           No                $7,000.00
                                                          San Francisco CA 94104 US
                                                       7801 E. Bush Lake Road Suite 450
Brainier Solutions, lnc                                                                                 8/31/2022              No            No          No      Supplier or Vendor           No               $10,936.45
                                                              Minneapolis MN 55439
                                                            184 High Street Suite 402
Bramalea Partners Fund, L.P.                                                                            3/15/2022              No            No          No       Convertible Note            No              $1,125,000.00
                                                                 Boston, MA 02110
                                                            184 High Street Suite 402
Bramalea Partners Fund, L.P.                                                                             2/7/2022              No            No          No       Convertible Note            No              $7,500,000.00
                                                                 Boston, MA 02110
                                                            184 High Street Suite 402
Bramalea Partners HealthIQ SPV LP                                                                       3/15/2022              No            No          No       Convertible Note            No              $1,500,000.00
                                                                 Boston, MA 02110
                                                     13011 McCallen Pass, Bldg A Suite 210
C3/CustomerContactChannels Inc.                                                                     08/09/22 - 09/01/22        No            No          No      Supplier or Vendor           No              $463,200.36
                                                                  Austin TX 78753
                                                            19525 Ventura Blvd. Ste F
Call Criteria                                                                                       08/31/22 - 12/15/22        No            No          No      Supplier or Vendor           No              $111,827.30
                                                                 Tarzana CA 91356
                                                       145 Corte Madera Town Center 596
Call Trader, LLC                                                                                    11/30/22 - 12/15/22        No            No          No      Supplier or Vendor           No              $215,530.00
                                                             Corte Madera CA 94925
                                                           Suite 201 Business Bay X2
CCI Enterprise DMCC                                           Jumeirah Lake Towers                  08/01/22 - 09/01/22        No            No          No      Supplier or Vendor           No              $632,149.00
                                                                      Dubai UAE
                                                                   P.O. Box 75723
CDW Direct                                                                                          10/17/22 - 02/21/23        No            No          No      Supplier or Vendor           No              $1,186,175.68
                                                              Chicago IL 60675-5723
                                                                 110 Great Rd #301
Charles River Partnership XV, LP                                                                         2/7/2022              No            No          No       Convertible Note            No              $2,230,298.20
                                                                Bedford, MA 01730
Christopher L. Shirley                                             Address on File                      9/21/2022              No            No          No       Convertible Note            No              $500,000.00
                                                         201 Spear Street Suite 1200
CIRCLECI.COM                                                                                             4/3/2023              No            No          No      Supplier or Vendor           No                $210.00
                                                           San Francisco CA 94105
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                                                  500 Woodward Avenue Suite 3500
Clark Hill                                                                              09/21/22 - 04/30/23     No      No     No     Supplier or Vendor   No   $30,321.50
                                                             Detroit MI 48226
                                                         835 W. 6th St., 12th Fl
Clear Data Networks, Inc                                                                 9/1/22 - 9/30/22       No      No     No     Supplier or Vendor   No    $7,500.00
                                                            Austin, TX 78703
                                                       2300 Cabot Dr., Suite 500
CLINGEN CALLOW & McLEAN, LLC                                                             6/1/23 - 7/31/23       No      No     No     Supplier or Vendor   No    $4,512.50
                                                              Lisle, IL 60532
                                                             1600 Market St.
Cohen Seglias Pallas Greenhall & Furman P.C.                                             8/1/22 - 8/31/22       No      No     No     Supplier or Vendor   No    $1,162.00
                                                         Philidelphia, PA 19103
                                                        14 Sylvan Way 3rd Floor
CohnReznick LLP                                                                         10/27/22 - 05/25/23     No      No     No     Supplier or Vendor   No    $8,400.00
                                                          Parsippany NJ 7054
                                                  9150 S. Dadeland Blvd Suite 1400
Cole Scott & Kissane PA                                                                 12/01/22 - 03/24/23     No      No     No     Supplier or Vendor   No   $18,017.00
                                                             Miami FL 33156
                                                     1433 N. Water St., Suite 400
Connecture Inc.                                                                          6/30/23 - 8/30/23      No      No     No     Supplier or Vendor   No   $175,890.00
                                                          Milwaukee, WI 53202
                                                              PO Box 13397
Corporation Service Company                                                             05/08/23 - 05/18/23     No      No     No     Supplier or Vendor   No    $484.00
                                                     Philadelphia PA 19101-3397
                                                  1105 North Market Street Suite 901
Cross & Simon, LLC                                                                           6/6/2023           No      No     No     Supplier or Vendor   No    $9,883.38
                                                         Wilmington, DE 19801
                                                   3122 Mahan Drive Suite 801-250
CRS Licensing, LLC dba Patton Compliance                                                09/30/22 - 11/30/22     No      No     No     Supplier or Vendor   No    $2,532.75
                                                         Tallahassee FL 32308
                                                 9111 Cypress Waters Blvd Suite 450
CSG Actuarial, LLC                                                                      05/04/23 - 06/01/23     No      No     No     Supplier or Vendor   No    $1,000.00
                                                            Coppell TX 75019
                                                     13220 Birch Drive Suite 220
CSG Consulting, LLC                                                                          5/1/2023           No      No     No     Supplier or Vendor   No    $5,600.00
                                                            Omaha NE 68164
                                                          10 Vose Farm Road
Data Axle                                                                               09/30/22 - 01/31/23     No      No     No     Supplier or Vendor   No   $35,802.90
                                                         Peterborough NH 3458
                                                            P.O. Box 844708
Deloitte & Touche LLP                                                                   08/08/22 - 12/07/22     No      No     No     Supplier or Vendor   No   $436,129.00
                                                         Dallas TX 75284-4708
                                                             PO Box 844736
Deloitte Tax LLP                                                                        10/31/22 - 11/02/22     No      No     No     Supplier or Vendor   No   $52,080.00
                                                         Dallas TX 75284-4736
                                                   1700 South Lamar Blvd Suite 338
Digital Thrive, LLC                                                                     10/31/22 - 11/16/22     No      No     No     Supplier or Vendor   No   $327,780.00
                                                             Austin TX 78704
                                                             P.O. Box 80080
DMS Insurance                                                                               10/31/2022          No      No     No     Supplier or Vendor   No   $15,843.02
                                                    City of Industry CA 91716-8060
                                                     DEPT 3428 PO Box 123428
DocuSign, Inc.                                                                              9/30/2022           No      No     No     Supplier or Vendor   No   $21,938.00
                                                             Dallas TX 75312
                                               8605 Santa Monica Boulevard PMB 38903
Easy Health, Inc.                                                                       11/30/22 - 12/31/22     No      No     No     Supplier or Vendor   No   $272,560.00
                                                   West Hollywood CA 90069-4109
                                                     500 N Brand Blvd Suite 610
EmailOversight, Inc.                                                                    10/28/22 - 11/29/22     No      No     No     Supplier or Vendor   No   $13,396.34
                                                           Glendale CA 91203
                                                              570 Lennon Ln
Ericksen Arbuthnot                                                                      09/01/22 - 10/21/22     No      No     No     Supplier or Vendor   No    $4,894.00
                                                        Walnut Creek CA 94598
                                                      440 N Barranca Ave #9232
Etleap Inc                                                                              10/04/22 - 05/09/23     No      No     No     Supplier or Vendor   No    $9,517.10
                                                            Covina CA 91723
                                                        210 Broadway Suite 302
Everquote, Inc.                                                                         10/30/22 - 12/30/22     No      No     No     Supplier or Vendor   No   $456,998.00
                                                          Cambridge MA 2139
                                                             PO Box 201395
Examone                                                                                 08/29/22 - 02/23/23     No      No     No     Supplier or Vendor   No   $393,094.30
                                                         Dallas TX 75320-1395
                                                     382 NE 191st Street #57537
Excel Impact, LLC                                                                           11/1/2022           No      No     No     Supplier or Vendor   No    $6,277.75
                                                             Miami FL 33179
                                                       143 Old Post Road North
Executive Boutique PH Inc.                                                              08/23/22 - 12/16/22     No      No     No     Supplier or Vendor   No   $470,222.77
                                                     Croton on Hudson NY 10520
                                                               P.O. Box 185
Express Imaging Services                                                                09/30/22 - 04/01/23     No      No     No     Supplier or Vendor   No     $42.00
                                                           Torrance CA 90507
                                                      750 State Hwy 121 Bypass
EZLynx                                                                                  03/01/22 - 07/21/22     No      No     No     Supplier or Vendor   No   $22,554.84
                                                          Lewisville TX 75067
                                                        2460 Sand Hill Rd #100
Felicis Ventures IV, L.P.                                                                    2/7/2022           No      No     No     Convertible Note     No   $256,753.00
                                                         Menlo Park, CA 94025
                                                          151 10th St Ste 1501
First Round Capital IV, L.P. as nominee                                                      3/7/2022           No      No     No     Convertible Note     No   $250,000.00
                                                       San Francisco, CA 94103
                                                        4000 Executive Parkway
Five9, Inc.                                                                             10/11/22 - 01/31/23     No      No     No     Supplier or Vendor   No   $664,895.61
                                                         San Ramon CA 94583
                                                       550 High Street 3rd Floor
Foundation Capital VIII Principals Fund, LLC                                                 2/7/2022           No      No     No     Convertible Note     No   $31,609.00
                                                          Palo Alto, CA 94301
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                                                                    550 High Street 3rd Floor
Foundation Capital VIII, L.P.                                                                             2/7/2022          No      No     No     Convertible Note     No    $1,467,573.04
                                                                      Palo Alto, CA 94301
                                                                   2000 Market St. 20th Floor
Fox Rothschild LLP                                                                                   03/31/23 - 04/30/23    No      No     No     Supplier or Vendor   No    $329,847.02
                                                                  Philadelphia PA 19103-3222
                                                                75 Remittance Dr Suite #6072
Fragomen, Del Rey, Bernsen & Loewy, LLP                                                              09/26/22 - 01/12/23    No      No     No     Supplier or Vendor   No      $2,450.00
                                                                     Chicago IL 60675-6072
                                                                    1455 Market St Floor 19
Frontapp                                                                                                 3/28/2023          No      No     No     Supplier or Vendor   No      $852.00
                                                                   San Francisco, CA 94103
                                                              16701 Melford Boulevard Suite 200
FTI Consulting Technology LLC                                                                            2/16/2023          No      No     No     Supplier or Vendor   No      $235.50
                                                                        Bowie MD 20715
                                                            205 North Michigan Avenue, Suite 3770
G Squared Opportunities Fund V LLC                                                                       3/16/2021          No      No     No     Convertible Note     No    $4,851,900.00
                                                                        Chicago, IL 60601
                                                            205 North Michigan Avenue, Suite 3770
G Squared Opportunities Fund V LLC                                                                       5/15/2021          No      No     No     Convertible Note     No    $2,426,713.26
                                                                        Chicago, IL 60601
                                                            205 North Michigan Avenue, Suite 3770
G Squared V, LP                                                                                          3/16/2021          No      No     No     Convertible Note     No    $5,148,100.00
                                                                        Chicago, IL 60601
                                                            205 North Michigan Avenue, Suite 3770
G Squared V, LP                                                                                          5/15/2021          No      No     No     Convertible Note     No    $2,573,286.74
                                                                        Chicago, IL 60601
                                                            205 North Michigan Avenue, Suite 3770
G Squared V, LP                                                                                          4/14/2021          No      No     No     Convertible Note     No    $5,000,000.00
                                                                        Chicago, IL 60601
                                                                        3 Main St Ste 214
Gaingels 10X Capital Diversity Fund I, L.P.                                                               3/7/2022          No      No     No     Convertible Note     No    $500,000.00
                                                                  Burlington, Vermont, 05401
                                                                        3 Main St Ste 214
Gaingels Health IQ I, A Series of Republic Deal Room Master Fund, LP*                                    3/16/2022          No      No     No     Convertible Note     No    $203,622.41
                                                                  Burlington, Vermont, 05401
                                                                        3 Main St Ste 214
Gaingels HealthIQ LLC                                                                                     3/7/2022          No      No     No     Convertible Note     No    $275,000.00
                                                                  Burlington, Vermont, 05401
                                                                         PO Box 953604
Getty Images                                                                                         08/30/22 - 01/24/23    No      No     No     Supplier or Vendor   No      $2,593.68
                                                                       St Louis MO 63195
                                                               591 Mantua Boulevard Suite 201
GlobalCom BPO Services, LLC                                                                          09/01/22 - 11/28/22    No      No     No     Supplier or Vendor   No    $402,610.99
                                                                         Sewell NJ 8080
                                                                18 West 18th Street 11th Floor
Greenhouse Software, Inc.                                                                                11/17/2022         No      No     No     Supplier or Vendor   No     $13,030.26
                                                                      New York NY 10011
                                                                   135 Main Street, Suite 850
H. Barton Co-Invest Fund IV, LLC                                                                         7/29/2021          No      No     No     Convertible Note     No    $500,000.00
                                                                   San Francisco, CA 94105
                                                                521 East 2nd Street Suite 1200
Hall Estill Hardwick Gable Golden & Nelson                                                           09/15/22 - 03/31/23    No      No     No     Supplier or Vendor   No      $9,202.10
                                                                         Tulsa OK 74120
                                                                   425 Market Street, 26th Fl
Hanson Bridgett LLP                                                                                  08/10/22 - 04/30/23    No      No     No     Supplier or Vendor   No     $20,486.00
                                                                    San Fransisco CA 94105
Harris Troutman                                                          Address on File                 2/14/2023          No      No     Yes    Supplier or Vendor   No      $291.58
                                                                        3 Main St Ste 214
HEA Gaingels Fund I, a series of MV Funds                                                                 3/7/2022          No      No     No     Convertible Note     No    $212,500.00
                                                                  Burlington, Vermont, 05401
                                                              4376 North Forestdale Drive unit 4
HealthQuotes, LLC                                                                                    11/30/22 - 12/15/22    No      No     No     Supplier or Vendor   No     $87,165.00
                                                                       Park City UT 84098
                                                                    233 South Wacker Drive
Heidrick & Struggles, Inc.                                                                                9/1/2022          No      No     No     Supplier or Vendor   No      $3,630.94
                                                                        Chicago IL 60606
                                                             3625 Cumberland Blvd SE Suite 1050
Hill, Kertscher & Wharton, LLP                                                                       11/30/22 - 12/31/22    No      No     No     Supplier or Vendor   No      $990.00
                                                                        Atlanta GA 30339
                                                                  5465 Legacy Dr., Suite 650
HIQ SPV Insurance Services LLC                                                                        5/1/21 - 8/30/23      No      No     No       Intercompany       No   $105,037,558.05
                                                                         Plano, TX 75024
                                                                         PO Box 410468
inContact, Inc.                                                                                      09/01/22 - 05/01/23    No      No     No     Supplier or Vendor   No    $114,015.33
                                                                 Salt Lake City UT 84141-0468
                                                                        P.O. Box 310666
Innovation Direct Group                                                                                  11/30/2022         No      No     No     Supplier or Vendor   No     $81,700.00
                                                                         Miami FL 33231
                                                                          100 IMS Drive
IQVIA Inc.                                                                                               9/26/2022          No      No     No     Supplier or Vendor   No     $32,475.00
                                                                      Parsippany NJ 7054
                                                                         PO Box 601002
Iron Mountain                                                                                        01/11/23 - 03/31/23    No      No     No     Supplier or Vendor   No     $10,427.98
                                                                   Pasadena CA 91189-1002
                                                                        7951 Powers Blvd
IWCO Direct                                                                                              11/23/2022         No      No     No     Supplier or Vendor   No     $14,881.18
                                                                     Chanhassen MN 55317
                                                                   1133 Westchester Avenue
Jackson Lewis PC                                                                                     01/17/23 - 04/30/23    No      No     No     Supplier or Vendor   No     $28,378.50
                                                                    West Harrison NY 10604
                                                                   7500 Excelsior Boulevard
Japs-Olson Company                                                                                   01/16/23 - 03/15/23    No      No     No     Supplier or Vendor   No     $10,594.96
                                                                    St. Louis Park MN 55426
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                                              101 West Broadway Suite 1440
Kandji Inc                                                                              2/17/2023           No      No     No     Supplier or Vendor   No    $15,395.16
                                                    San Diego CA 92101
                                                26 West 17th Street, 9th FL
Kaseya US, LLC                                                                      11/28/22 - 11/29/22     No      No     No     Supplier or Vendor   No     $6,683.18
                                                    New York NY 10011
                                                      101 Park Avenue
Kelley Drye & Warren LLP                                                                7/19/2022           No      No     No     Supplier or Vendor   No     $7,639.36
                                                    New York NY 10178
                                              33 N. Garden Avenue Ste 1200
KnowBe4 Inc.                                                                            12/1/2022           No      No     No     Supplier or Vendor   No    $17,926.71
                                                    Clearwater FL 33755
                                         223 E Thousand Oaks Boulevard Suite 222
Leads Mogul, LLC                                                                        10/31/2022          No      No     No     Supplier or Vendor   No    $25,800.00
                                                 Thousand Oaks CA 91360
                                                3825 Edwards Rd Suite 103
Lendmarx, LLC                                                                       12/01/22 - 12/04/22     No      No     No     Supplier or Vendor   No    $170,000.00
                                                    Cincinnati OH 45209
                                              62228 Collections Center Drive
LinkedIn Corporation                                                                09/06/22 - 03/07/23     No      No     No     Supplier or Vendor   No    $95,267.25
                                                  Chicago IL 60693-0622
                                                      P.O Box 207137
Littler Mendelson PC                                                                09/01/22 - 04/30/23     No      No     No     Supplier or Vendor   No    $28,481.93
                                                      Dallas TX 75320
                                                     28-A Elgin Avenue
Longtail Re (Cayman) SPC Ltd.                                                           3/16/2021           No      No     No     Convertible Note     No   $10,000,000.00
                                          George Town KY1-9006 Grand Cayman
                                                2790 North Federal Highway
M&M Holdings USA LLC                                                                11/30/22 - 12/05/22     No      No     No     Supplier or Vendor   No    $280,255.00
                                                   Boca Raton FL 33431
                                              1901 S. Bascom Ave. Suite 600
Mahamedi Paradice LLP                                                               08/01/22 - 03/31/23     No      No     No     Supplier or Vendor   No    $11,224.50
                                                    Campbell CA 95008
                                                   478 Valencia Dr South
Mana Ventures, LP - B2                                                                   3/7/2022           No      No     No     Convertible Note     No    $20,000.00
                                                 San Francisco, CA 94080
                                              50 Braintree Hill Park Suite 400
MIB Inc.                                                                            08/31/22 - 11/10/22     No      No     No     Supplier or Vendor   No      $525.00
                                                     Braintree MA 2184
                                          15800 West Bluemound Road Suite 100
Milliman Solutions, LLC                                                             08/15/22 - 01/31/23     No      No     No     Supplier or Vendor   No    $777,184.00
                                                    Brookfield WI 53005
Munjal Shah                                            Address on File                   2/7/2022           No      No     No     Convertible Note     No    $250,000.00
                                                500 N. Akard St. Suite 3800
Munsch Hardt Kopf & Harr, P.C.                                                      01/13/23 - 05/24/23     No      No     No     Supplier or Vendor   No     $5,510.67
                                                      Dallas TX 75201
                                                  1402 Topp Creek Drive
MW Media Group LLC                                                                  10/30/22 - 11/28/22     No      No     No     Supplier or Vendor   No    $270,672.00
                                                   Indianapolis IN 46214
                                              4801 Linton Boulevard Ste 11A
My Health Angel, LLC                                                                10/23/22 - 12/11/22     No      No     No     Supplier or Vendor   No    $742,295.00
                                                  Delray Beach FL 33445
                                           650 California Street, Suite 2950
NCC Group Security Services Inc.                                                    08/30/22 - 10/25/22     No      No     No     Supplier or Vendor   No    $20,200.00
                                               San Francisco CA 94108
                                              175 Parfitt Way SE Suite S210
NexLevel Direct, LLC                                                                10/24/22 - 12/12/22     No      No     No     Supplier or Vendor   No    $129,835.00
                                               Bainbridge Island WA 98110
                                                 701 B Street, Suite 1255
Nextgen Leads LLC                                                                       11/30/2022          No      No     No     Supplier or Vendor   No     $1,200.03
                                                  San Diego CA 92101
                                                    45 Executive Drive
NFP Property & Casualty Services, Inc.                                                  3/21/2023           No      No     No     Supplier or Vendor   No     $2,500.00
                                                   Plainview NY 11803
                                                     4102 S 1900 W
Offshore Solutions LLC                                                              08/01/22 - 12/15/22     No      No     No     Supplier or Vendor   No    $57,595.60
                                                      Roy UT 84067
                                                      4 Polaris Way
One Identity LLC                                                                    10/18/22 - 01/10/23     No      No     No     Supplier or Vendor   No    $125,088.40
                                                  Aliso Viejo CA 92656
                                               170 Commerce Way Ste 200
Optimize to Convert Digital, LLC                                                    11/30/22 - 12/15/22     No      No     No     Supplier or Vendor   No    $335,850.00
                                                  Portsmouth NH 3801
                                                         PO 44471
Oracle America, Inc.                                                                10/28/22 - 04/28/23     No      No     No     Supplier or Vendor   No    $285,293.21
                                              San Francisco, CA 94144-4471
                                               600 Townsend St. Suite 125
PagerDuty                                                                               3/31/2023           No      No     No     Supplier or Vendor   No      $447.58
                                                San Francisco, CA 94103
                                                 24 E. Cota St., Suite 200
Pensionmark Financial Group, LLC                                                     4/1/23 - 6/30/23       No      No     No     Supplier or Vendor   No     $2,524.06
                                                Santa Barbara, CA 93101
                                                      134 N. 4th St.
Perimeter 81 LLC                                                                      8/1/23 - 9/1/23       No      No     No     Supplier or Vendor   No      $200.00
                                                   Brooklyn, NY 11249
                                                   8 The Green Suite A
Pitch Perfect Solutions LLC                                                             11/30/2022          No      No     No     Supplier or Vendor   No    $22,617.00
                                                     Dover DE 19901
                                                   4401 Hazel Avenue
Policy Post LLC                                                                     10/31/22 - 12/31/22     No      No     No     Supplier or Vendor   No    $111,621.00
                                                   Fair Oaks CA 95628
                                                  205 Coral Road Apt 1
PolicyBind LLC                                                                      10/31/22 - 12/15/22     No      No     No     Supplier or Vendor   No    $135,847.72
                                                Boynton Beach FL 33435
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                                                    10801 Mastin St, Ste 580
Propio LS LLC                                                                             11/30/22 - 01/31/23    No      No     No     Supplier or Vendor   No    $20,537.46
                                                    Overland Park KS 66210
                                                 4551 Glencoe Avenue Suite 150
PSG Global Solutions, Inc.                                                                10/26/22 - 12/31/22    No      No     No     Supplier or Vendor   No   $372,500.00
                                                    Marina Del Rey CA 90292
                                                          850 Main St.
Pullman & Comley, LLC                                                                         4/30/2023          No      No     No     Supplier or Vendor   No     $3,300.00
                                                      Bridgeport, CT 06604
                                                  9909 Mira Mesa Blvd Unit 240
QualStaff Resources                                                                       10/20/22 - 12/29/22    No      No     No     Supplier or Vendor   No    $29,105.11
                                                      San Diego CA 92131
                                                         PO Box 205858
Qualys Inc                                                                                09/30/22 - 12/31/22    No      No     No     Supplier or Vendor   No    $12,308.04
                                                     Dallas TX 75320-5858
                                                   950 TOWER LANE STE600
Quinstreet, Inc.                                                                              12/18/2022         No      No     No     Supplier or Vendor   No    $26,919.20
                                                    FOSTER CITY CA 94404
                                                 300 E. Roosevelt Road, Suite 300
Rathje Woodward, LLC                                                                      12/31/22 - 03/31/23    No      No     No     Supplier or Vendor   No    $25,355.92
                                                         Wheaton IL 60187
                                                    548 Market Street # 73905
Reciprocity, Inc.                                                                         09/23/22 - 03/24/23    No      No     No     Supplier or Vendor   No    $27,370.00
                                                  San Francisco CA 94104-5401
                                                34145 East Pacific Coast Highway
Regal Result, LLC                                                                             11/30/2022         No      No     No     Supplier or Vendor   No     $8,650.00
                                                       Dana Point CA 92629
                                                     4041 MacArthur Suite 400
Reserve Tech, Inc.                                                                        10/31/22 - 11/30/22    No      No     No     Supplier or Vendor   No   $329,142.80
                                                     Newport Beach CA 92660
                                                      364 University Avenue
Ribbit Capital III, L.P.                                                                       2/7/2022          No      No     No     Convertible Note     No   $1,407,120.68
                                                        Palo Alto, CA 94301
                                                         176 Federal Street
Rich May, P.C.                                                                                4/10/2023          No      No     No     Supplier or Vendor   No     $8,881.38
                                                          Boston MA 2110
                                                        121 Post Road East
Ring2 Media Inc                                                                           10/31/22 - 12/15/22    No      No     No     Supplier or Vendor   No   $283,610.00
                                                        Westport CT 06880
                                                       19319 Trentham Ave
Rishi Chandna 2014 Separate Property Trust                                                     8/3/2021          No      No     No     Convertible Note     No   $300,000.00
                                                        Cerritos, CA 90703
                                                       5782 Parkhurst Place
RJ Capital Group                                                                              10/28/2022         No      No     No     Supplier or Vendor   No     $7,500.00
                                                      Yorba Linda CA 92886
                                             610 Lincoln Street North Building STE 200
Salary.com LLC                                                                                6/13/2023          No      No     No     Supplier or Vendor   No    $17,325.00
                                                        Waltham, MA 02451
                                                     3031 Tisch Way Suite 100
Securiti, Inc                                                                             08/26/22 - 12/28/22    No      No     No     Supplier or Vendor   No    $15,250.00
                                                        San Jose CA 95128
                                                       290 davidson avenue
Shi International Corp                                                                    03/07/22 - 05/23/23    No      No     No     Supplier or Vendor   No   $182,530.12
                                                     Somerset NJ 75395-2121
                                                          PO Box 675383
Sisense SF, Inc.                                                                          08/01/22 - 11/21/22    No      No     No     Supplier or Vendor   No    $33,270.56
                                                       Detroit MI 48267-5383
                                                      Mabini st, cor Araullo st
Six Eleven Global Teleservices                                                            06/30/22 - 12/31/22    No      No     No     Supplier or Vendor   No   $350,289.34
                                                    Davao City 8000 Phillipines
                                                      503 Queen Street East
SkyPrep Inc.                                                                              02/28/23 - 05/31/23    No      No     No     Supplier or Vendor   No    $10,696.00
                                                       Toronto M5A 1V1 CA
                                                  58 South River Drive Suite 401
Solium Plan Managers LLC                                                                      12/21/2022         No      No     No     Supplier or Vendor   No    $27,117.35
                                                          Tempe AZ 85281
                                                 100 Painters Mill Road, Suite 700
StepStone VC Global Partners VIII-A, L.P.                                                      2/7/2022          No      No     No     Convertible Note     No   $475,571.46
                                                      Owings Mills, MD 21117
                                                 100 Painters Mill Road, Suite 700
StepStone VC Global Partners VIII-C, L.P.                                                      2/7/2022          No      No     No     Convertible Note     No    $31,187.21
                                                      Owings Mills, MD 21117
                                                 100 Painters Mill Road, Suite 700
StepStone VC Opportunities V, L.P.                                                             2/7/2022          No      No     No     Convertible Note     No   $1,143,320.51
                                                      Owings Mills, MD 21117
                                                 100 Painters Mill Road, Suite 700
StepStone VC Opportunities V-D, L.P.                                                           2/7/2022          No      No     No     Convertible Note     No   $100,870.21
                                                      Owings Mills, MD 21117
                                                          154 Tudor Court
Stonehedge Media Inc.                                                                         10/31/2022         No      No     No     Supplier or Vendor   No    $16,110.00
                                                        Lakewood NJ 8701
                                                         5704 Copley Drive
Sullivan Moving & Storage/United Van Lines                                                    8/15/2022          No      No     No     Supplier or Vendor   No     $6,013.10
                                                       San Diego CA 92111
                                                          DEPT LA 23966
Sumo Logic Inc.                                                                           08/31/22 - 03/24/23    No      No     No     Supplier or Vendor   No    $60,830.11
                                                    Pasadena CA 91185-3966
                                                           150 Kimball Rd
SunFire, Inc.                                                                             10/31/22 - 12/31/22    No      No     No     Supplier or Vendor   No   $390,860.00
                                                          Carlisle MA 1741
                                                610 Southwest Broadway Suite 200
Telelanguage Inc.                                                                         09/01/22 - 10/31/22    No      No     No     Supplier or Vendor   No    $63,093.13
                                                        Portland OR 97205
                                                          PO Box 580045
The Hanover Insurance Group                                                                    3/1/2023          No      No     No     Supplier or Vendor   No    $30,297.72
                                                     Charlotte NC 28258-0045
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                                                            909 N. Pacific Coast Highway Suite 300
The Wisdom Companies, LLC                                                                                   10/31/2022          No      No     No     Supplier or Vendor   No     $41,817.48
                                                                    El Segundo CA 90245
                                                                     126 Stratford Place
Top Shelf Marketing Inc                                                                                     10/31/2022          No      No     No     Supplier or Vendor   No     $16,950.00
                                                                     Lakewood NJ 8701
                                                              2810 North Church Street #36879
Toptal, LLC                                                                                             09/27/22 - 12/29/22     No      No     No     Supplier or Vendor   No     $32,628.75
                                                                 Wilmington DE 19802-4447
                                                             11140 Rockville Pike Ste 100-546
Transparent BPO, LLC                                                                                    08/31/22 - 10/31/22     No      No     No     Supplier or Vendor   No    $523,125.14
                                                                   Rockville MD 20852
                                                          2755 Sand Hill Rd, STE 150 Menlo Park, CA
TriplePoint Capital LLC                                                                                     11/18/2023          No      No     No     Supplier or Vendor   No     $23,633.50
                                                                              94025
                                                               530 Technology Drive Suite 200
Troutman Firm                                                                                           03/31/23 - 05/01/23     No      No     No     Supplier or Vendor   No     $61,171.87
                                                                        Irvine CA 92618
                                                                     56 N Haddon Avenue
True Capital Partners LLC                                                                               09/01/22 - 11/24/22     No      No     No     Supplier or Vendor   No    $137,500.00
                                                                     Haddonfield NJ 8033
                                                                  160 NE 6th Ave., Suite 300
Trupp HR, Inc.                                                                                           11/1/22 - 1/20/23      No      No     No     Supplier or Vendor   No     $10,140.00
                                                                      Portland, OR 97232
                                                                   245 Fifth Avenue 5th Floor
Trustpilot Inc.                                                                                         11/15/22 - 02/15/23     No      No     No     Supplier or Vendor   No      $7,160.00
                                                                      New York NY 10016
                                                                      PO BOX LA 22533
Turing Enterprises Inc.                                                                                 07/31/22 - 01/10/23     No      No     No     Supplier or Vendor   No    $120,740.52
                                                                 PASADENA CA 91185- 2533
                                                                  101 Spear Street Suite 100
TWILIO                                                                                                  11/01/22 - 01/31/23     No      No     No     Supplier or Vendor   No    $256,603.63
                                                                    San Francisco CA 94105
                                                                    104 La Mesa Dr Ste 102
Venture Lending & Leasing VI, LLC                                                                            3/7/2022           No      No     No     Convertible Note     No    $179,675.51
                                                                Portola Valley, CA, 94028-7510
                                                                    104 La Mesa Dr Ste 102
Venture Lending & Leasing VII, LLC                                                                           3/7/2022           No      No     No     Convertible Note     No    $250,000.06
                                                                Portola Valley, CA, 94028-7510
                                                                    104 La Mesa Dr Ste 102
Venture Lending & Leasing VIII, LLC                                                                          3/7/2022           No      No     No     Convertible Note     No     $70,324.43
                                                                Portola Valley, CA, 94028-7510
                                                                 618 U.S. Highway 1 Suite 200
Vernis & Bowling of Palm Beach, P. A.                                                                   01/31/23 - 04/30/23     No      No     No     Supplier or Vendor   No      $2,345.00
                                                                  North Palm Beach FL 33408
                                                                         PO Box 27167
Vertafore                                                                                                    1/1/2023           No      No     No     Supplier or Vendor   No       $3.50
                                                                      New York NY 10087
                                                             1130 Connecticut Ave NW Suite 210
Virtru Corporation                                                                                           7/1/2022           No      No     No     Supplier or Vendor   No     $29,399.00
                                                                     Washington DC 20036
                                                                  12222 Merit Drive Suite 500
WebCE                                                                                                   12/23/22 - 01/02/23     No      No     No     Supplier or Vendor   No      $6,092.32
                                                                        Dallas TX 75251
                                                                  4300 Sharon Road Apt. 545
WeCall Media Inc.                                                                                       10/31/22 - 12/31/22     No      No     No     Supplier or Vendor   No    $2,008,550.00
                                                                      Charlotte NC 28211
                                                          6735 Salt Cedar Way, Building 1, Suite 300
What If Ventures Health IQ, a series of What If SPV LLC                                                     3/15/2022           No      No     No     Convertible Note     No    $308,200.20
                                                                       Frisco, TX 75034
                                                          6735 Salt Cedar Way, Building 1, Suite 300
What If Ventures Health IQ, a series of What If SPV LLC                                                      3/7/2022           No      No     No     Convertible Note     No    $987,980.00
                                                                       Frisco, TX 75034
                                                                  1700 Alma Drive Suite 500
Wheeler Staffing Partners, Inc.                                                                         07/31/22 - 12/21/22     No      No     No     Supplier or Vendor   No    $530,990.17
                                                                        Plano TX 75075

                                                                                                                                                                                $189,216,641.78
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                                                                            Schedule G
                                                                                                                                           Term Remaining
        Name of the Counterparty                            Address of the Counterparty                           Nature of the Contract
                                                                                                                                              (Months)
AA Media, Inc.                     307 S Class St, Middletown, DE 19709                                 Vendor / Service Provider             Unknown
Acquire Crowd                      4041 MacArthur Suite 400, Newport Beach, CA 92660                    Vendor / Service Provider                1
Agency Incline, LLC                7401 Wiles Road Suite 217, Coral Springs, FL 33067                   Vendor / Service Provider             Unknown
All Web Leads                      7300 Ranch to Market 2222 Building 2, Suite 100, Austin, TX 78730    Vendor / Service Provider             Unknown
Apollo Interactive                 139 Illinois Street, El Segundo, CA 90245                            Vendor / Service Provider             Unknown
Assurance IQ                       920 5th Ave., Ste 3600, Seattle, WA 98104                            Vendor / Service Provider             Unknown
Assure Media, LLC                  2385 NW Executive Center Dr., Suite 100, Boca Raton, FL 33431        Vendor / Service Provider             Unknown
Barrington Media Group, LLC        4 Armstrong Road, 3rd Floor, Shelton, CT 06484                       Vendor / Service Provider             Unknown
Blue Wing Ads, LLC                 2885 Sanford Ave., SW 12566, Grandville, MI 49418                    Vendor / Service Provider             Unknown
Broker Calls, LLC                  3323 West Commerical Blvd., Suite 260, Fort Lauderdale, FL 33309     Vendor / Service Provider             Unknown
C3 Data LLC                        4376 North Forestdale Drive, Unit 4, Park City, UT 84098             Vendor / Service Provider             Unknown
Call Trader, LLC                   145 Corte Madera Town Center, #596, Corte Madera, CA 94925           Vendor / Service Provider             Unknown
Charleston Investment Group, LLC   2390 El Camino Real, Suite 210, Palo Alto, CA 94306                  Property Lease                           4
Connecting the Dots LLC            101 Painted Turtle Lane, Chapel Hill, NC 27516                       Vendor / Service Provider             Unknown
Digital Thrive, LLC                1700 South Lamar Blvd Suite 338 Austin TX 78704 US                   Vendor / Service Provider             Unknown
Easy Health, Inc.                  8605 Santa Monica Boulevard, West Hollywood, CA 90069                Vendor / Service Provider             Unknown
Everise, Inc.                      600 N. Pine Island Rd., Suite 320, Plantation, FL 33324              Vendor / Service Provider             Unknown
Everquote                          210 Broadway Suite 302, Cambridge, MA 02139                          Vendor / Service Provider             Unknown
Five9 Inc.                         4000 Executive Parkway, San Ramon, CA 94583                          Vendor / Service Provider             Unknown
Google LLC                         1600 Amphitheatre Pkwy., Mountain View, CA 94043                     Vendor / Service Provider             Unknown
Innovation Direct Group            6326 Northwest 104th Court, Doral, FL 33178                          Vendor / Service Provider             Unknown
Landfall Data                      3740 South Ocean Boulevard, Unit 409, Highland Beach, FL 33487       Vendor / Service Provider             Unknown
Leads Mogul, LLC                   223 E Thousand Oaks Boulevard, Suite 222, Thousand Oaks, CA 91360    Vendor / Service Provider             Unknown
Lendmarx, LLC                      3825 Edwards Rd., Suite 103, Cincinnati, OH 45209                    Vendor / Service Provider             Unknown
M&M Holdings USA, LLC              2790 North Federal Highway, Boca Raton, FL 33431                     Vendor / Service Provider             Unknown
Madera Digital, LLC                145 Corte Madera Town Center, #596, Corte Madera, CA 94925           Vendor / Service Provider             Unknown
My Health Angel, LLC               4801 Linton Boulevard, Suite 11A, Delray Beach, FL 33445             Vendor / Service Provider             Unknown
Navex Global, Inc.                 5500 Meadows Rd., Suite 500, Lake Oswego, OR 97035                   Vendor / Service Provider                6
Neatly Technologies, Inc.          3397 Silver Springs Court Rocket, Lafayette, CA 94549                Vendor / Service Provider             Unknown
Nextgen Leads, LLC                 701 B Street, Suite 1255, San Diego, CA 92101                        Vendor / Service Provider             Unknown
Optimize to Convert Digital, LLC   170 Commerce Way, Suite 200, Portsmouth, NH 03801                    Vendor / Service Provider             Unknown
Palo Media Group, LLC              6 Main Street, Extension #3853, Plymouth, MA 02361                   Vendor / Service Provider             Unknown
Ping Leads, LLC                    15310 Amberly Dr., Suite 250, Tampa, FL 33647                        Vendor / Service Provider             Unknown
Policy Bind, LLC                   205 Coral Road, Apt 1, Boynton Beach, FL 33435                       Vendor / Service Provider             Unknown
Policy Post, LLC                   4401 Hazel Avenue, Fair Oaks, CA 95628                               Vendor / Service Provider             Unknown
QuinStreet, Inc.                   950 Tower Lane, Suite 600, Foster City, CA 94404                     Vendor / Service Provider             Unknown
Quote Velocity, LLC                4260 NW 1st Ave., Suite 57, Boca Raton, FL 33431                     Vendor / Service Provider             Unknown
Regal Result, LLC                  34145 East Pacific Coast Highway, Dana Point, CA 92629               Vendor / Service Provider             Unknown
Richardson Marketing Group         3260 Henderson Rd., Suite 020, Columbus OH 43220                     Vendor / Service Provider             Unknown
RJ Capital Group                   5782 Parkhurst Place, Yorba Linda, CA 92886                          Vendor / Service Provider             Unknown
RSUI                               945 East Paces Ferry Road NE, Suite 1800, Atlanta, GA 30326          Insurance Policies                       9
Seafront Marketing                 76 E. Merritt Island Causeway, Suite 206, Merritt Island, FL 32952   Vendor / Service Provider             Unknown
Sompo                              13146 Ballantyne Corporate Pl., Suite 300, Charlotte, NC 28277       Insurance Policies                       1
Stonehedge Media, Inc.             154 Tudor Court, Lakewood, NJ 08701                                  Vendor / Service Provider             Unknown
SunFire, Inc.                      150 Kimball Rd., Carlisle, MA 01741                                  Vendor / Service Provider             Unknown
The Colby Group, Inc.              1997 Annapolis Exchange Pkwy., Suite 300, Annapolis, MD 21401        Vendor / Service Provider             Unknown
The Med Writers LLC                9314 Forest Hill Blvd., Suite 6, Wellington, FL 33411                Vendor / Service Provider             Unknown
The Wisdom Companies, LLC          909 N. Pacific Coast Highway, Suite 300, El Segundo, CA 90245        Vendor / Service Provider             Unknown
TogetherHealth PAP LLC             3450 Buschwood Park Drive, Suite 200, Tampa, FL 33618                Vendor / Service Provider             Unknown
Top Shelf Marketing Inc            126 Stratford Place, Lakewood, NJ 08701                              Vendor / Service Provider             Unknown
Torchlight Technology Group, LLC   215 S. Broad Street, 10th Floor, Philadelphia, PA 19107              Vendor / Service Provider             Unknown
TradeMarc Global                   2337 Otts Rd., Pennsburg, PA 18073                                   Vendor / Service Provider             Unknown
Trips Marketing, LLC               18 Jordan Way, Monmouth Junction, NJ 08852                           Vendor / Service Provider             Unknown
UE Authority Co. (DMS Insurance)   4800 140th Ave. N., Suite 101, Clearwater, FL 33762                  Vendor / Service Provider             Unknown
Xactly Corporation                 1125 17th St., Suite 1700, Denver, CO 80202                          Vendor / Service Provider             Unknown
